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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

         Plaintiff,                                     Case No. 3:21-cr-99

vs.

PAUL BLACK,                                             District Judge Michael J. Newman
                                                        Magistrate Judge Peter B. Silvain, Jr.
         Defendant.


  ORDER ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
              STATES MAGISTRATE JUDGE (DOC. NO. 19)


         This criminal case is before the Court on the Report and Recommendation of the United

States Magistrate Judge, recommending that the Court accept Defendant’s guilty plea. Doc. No.

19. There being no objections, the Court ADOPTS the Report and Recommendation in full. The

Court accepts Defendant’s plea of guilty as charged in Count 1 of the Indictment, which charges

him with possession of a firearm by a prohibited person in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(2). Doc. No. 13. The Court will defer the decision of whether to accept the plea agreement

until the sentencing hearing on March 10, 2022 at 11:00 AM.

         IT IS SO ORDERED.


December 3, 2021                                    /s Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
